Case 1:25-cv-00128-JJM-LDA             Document 41 Filed 04/14/25      Page 1 of 48 PageID #:
                                              1064



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND


  STATE OF RHODE ISLAND, et al.,

                         Plaintiffs,

         v.
                                                     No. 25-cv-00128
  DONALD J. TRUMP, in his official
  capacity as President of the United States,
  et al.,

                         Defendants.


                 DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
        MOTION FOR AN EMERGENCY TEMPORARY RESTRAINING ORDER
Case 1:25-cv-00128-JJM-LDA                           Document 41 Filed 04/14/25                              Page 2 of 48 PageID #:
                                                            1065



                                                    TABLE OF CONTENTS

 TABLE OF CONTENTS................................................................................................................ ii
 TABLE OF AUTHORITIES ......................................................................................................... iv
 INTRODUCTION .......................................................................................................................... 1
 BACKGROUND ............................................................................................................................ 2
    I.     Statutory Background ......................................................................................................... 2
           A. IMLS ............................................................................................................................. 3
           B. MBDA........................................................................................................................... 3
           C. FMCS ............................................................................................................................ 4
    II.    Factual Background ............................................................................................................ 4
    III. Procedural History .............................................................................................................. 5
 LEGAL STANDARD..................................................................................................................... 7
 ARGUMENT .................................................................................................................................. 8
    I.     Plaintiffs Cannot Establish Likelihood of Success on the Merits. ...................................... 8
           A. Plaintiffs Have No Standing to Demand the Broad Relief Sought in their Motion. ..... 8
           B. Plaintiffs’ Claims Regarding Potential Future Injury are not Ripe............................. 11
           C. To the Extent they are Justiciable, Plaintiffs’ Claims Must Be Heard by Another
              Court or Administrative Body. ................................................................................... 13
                 1.      Insofar as Plaintiffs Challenge Defendants’ Actions Concerning their Grants,
                         the Tucker Act Vests Exclusive Jurisdiction Over Such Claims in the Court of
                         Federal Claims. .................................................................................................. 14
                 2.      Administrative Bodies Identified in the Civil Service Reform Act of 1978 are
                         the Exclusive Channels for Any Challenge to the Propriety of Federal Employee
                         Removals............................................................................................................ 19
           D. Plaintiffs’ APA Claims Fail Because They Do Not Seek Judicial Review of a
              Discrete Final Agency Action. .................................................................................. 20
           E.     Defendants’ Staffing Determinations are Themselves Committed to Agency
                  Discretion. ................................................................................................................. 24
           F.     Plaintiffs Cannot Show a Likelihood of Success on their Claims Grounded in Each
                  Agency’s Appropriations Statute. ............................................................................. 27
           G. Plaintiffs Cannot Show a Likelihood of Success on their Constitutional Claims. .... 28
    II. Plaintiffs Have Failed to Demonstrate that They Will Suffer Irreparable Harm Unless the
    Court Grants the Requested Relief. .......................................................................................... 31
           A. MBDA ....................................................................................................................... 33


                                                                       ii
Case 1:25-cv-00128-JJM-LDA                            Document 41 Filed 04/14/25                               Page 3 of 48 PageID #:
                                                             1066



           B. IMLS ......................................................................................................................... 34
           C. FMCS ........................................................................................................................ 35
    III.  The Balance of the Equities and the Public Interest Support Rejection of the Plaintiffs’
    Motion. ...................................................................................................................................... 36
    IV.     Plaintiffs Should Be Ordered to Post Security in Connection with Any Preliminary
    Injunctive Relief And Any Preliminary Relief Should Be Stayed To Allow Consideration of
    Whether to Appeal .................................................................................................................... 37
 CONCLUSION ............................................................................................................................. 38




                                                                         iii
Case 1:25-cv-00128-JJM-LDA                          Document 41 Filed 04/14/25                            Page 4 of 48 PageID #:
                                                           1067



                                                 TABLE OF AUTHORITIES


 CASES
 Albrecht v. Comm. on Emp. Benefits of Fed. Rsrv. Emp. Benefits Sys.,
 357 F.3d 62 (D.C. Cir. 2004) ........................................................................................................ 18

 Alfred L. Snapp & Son, Inc., Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez,
 458 U.S. 592 (1982) ...................................................................................................................... 10

 Am. Bioscience, Inc. v. Thompson,
 269 F.3d 1077 (D.C. Cir. 2001) .................................................................................................... 22

 Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump,
 929 F.3d 748 (D.C. Cir. 2019) ...................................................................................................... 20

 Appalachian Energy Grp. v. EPA,
 33 F.3d 319 (4th Cir. 1994) .......................................................................................................... 23

 Baker v. Carr,
 369 U.S. 186 (1962) ...................................................................................................................... 30

 Bennett v. Spear,
 520 U.S. 154 (1997) ...................................................................................................................... 23

 Braintree Lab’ys, Inc. v. Citigroup Glob. Markets Inc.,
 622 F.3d 36 (1st Cir. 2010) ................................................................................................. 8, 31, 32

 Charlesbank Equity Fund II v. Blinds To Go, Inc.,
 370 F.3d 151 (1st Cir. 2004) ......................................................................................................... 32

 Chi. & S. Air Lines, Inc. v. Waterman S.S. Corp.,
 333 U.S. 103 (1948) ................................................................................................................ 23, 30

 City of New York v. U.S. Dep’t of Def.,
 913 F.3d 423 (4th Cir. 2019) ........................................................................................................ 24

 Clapper v. Amnesty Intern. USA,
 568 U.S. 398 (2013) ...................................................................................................................... 12

 Clinton v. Jones,
 520 U.S. 681 (1997) ...................................................................................................................... 31


                                                                      iv
Case 1:25-cv-00128-JJM-LDA                           Document 41 Filed 04/14/25                             Page 5 of 48 PageID #:
                                                            1068



 CMM Cable Rep., Inc. v. Ocean Coast Props., Inc.,
 48 F.3d 618 (1st Cir.1995) ............................................................................................................ 32

 Cobell v. Kempthorne,
 455 F.3d 301 (D.C. Cir. 2006) ...................................................................................................... 21

 Com. of Mass. by Dept. of Pub. Welfare v. Departmental Grant Appeals Bd. of U.S. Dept. of
 Health & Human Services,
 815 F.2d 778 (1st Cir. 1987). ........................................................................................................ 14

 Commonwealth of Massachusetts v. Mellon,
 262 U.S. 447 (1923) ...................................................................................................................... 10

 Cousins v. Sec’y of the U.S. Dep’t of Transp.,
 880 F.2d 603 (1st Cir. 1989) ......................................................................................................... 22

 Dalton v. Specter,
 511 U.S. 462 (1994) .......................................................................................................... 28, 29, 30

 Department of Education v. California,
 No. 24A910, 2015 WL 1008354 (Apr. 4, 2025) .................................................................... passim

 DeVillers v. Blue Cross & Blue Shield of Rhode Island,
 No. CA 13-173 ML, 2014 WL 1338420 (D.R.I. Mar. 31, 2014) ................................................. 25

 Dist. 4 Lodge of the Int’l Assoc. of Machinists & Aerospace Workers Local Lodge 207 v. Ctr. for
 Biological Diversity,
 18 F.4th 38 (1st Cir. 2021) ............................................................................................................ 37

 Drake v. FAA,
 291 F.3d 59 (D.C. Cir. 2002) ........................................................................................................ 26

 DSE, Inc. v. United States,
 169 F.3d 21 (D.C. Cir. 1999) ........................................................................................................ 38

 Elgin v. Dep’t of the Treasury,
 567 U.S. 1 (2012) .......................................................................................................................... 20

 EPA v. Brown,
 431 U.S. 99 (1977) ........................................................................................................................ 23

 FCC v. Prometheus Radio Project,
 592 U.S. 414 (2021) ...................................................................................................................... 25

                                                                       v
Case 1:25-cv-00128-JJM-LDA                          Document 41 Filed 04/14/25                             Page 6 of 48 PageID #:
                                                           1069



 Flores v. Wall,
 No. CA 11-69 M, 2012 WL 4471103 (D.R.I. Sept. 5, 2012) ......................................................... 8

 Foxboro Co. v. Arabian Am. Oil. Co.,
 805 F.2d 34 (1st Cir. 1986) ........................................................................................................... 32

 Free Enter. Fund v. Pub. Co. Acct. Oversight Bd.,
 561 U.S. 477 (2010) ...................................................................................................................... 31

 FTC v. Standard Oil Co. of Cal.,
 449 U.S. 232 (1980) ...................................................................................................................... 24

 Gill v. Whitford,
 138 S. Ct. 1916 (2018) .................................................................................................................. 11

 Great-West Life & Annuity Ins. Co. v. Knudson,
 534 U. S. 204 (2002) ..................................................................................................................... 17

 Haaland v. Brackeen,
 599 U.S. 255 (2023) ...................................................................................................................... 10

 Harris v. Wall,
 217 F. Supp. 3d 541 (D.R.I. 2016).................................................................................................. 7

 Heckler v. Chaney,
 470 U.S. 821 (1985) ...................................................................................................................... 26

 Indep. Equip. Dealers Ass’n v. EPA,
 372 F.3d 420 (D.C. Cir. 2004) ...................................................................................................... 24

 Lampon-Paz v. OPM,
 732 F. App’x 158 (3d Cir. 2018) .................................................................................................. 20

 Lincoln v. Vigil,
 508 U.S. 191 (1993) .......................................................................................................... 25, 26, 28

 Littlefield v. U.S. Dep't of the Interior,
 85 F.4th 635 (1st Cir. 2023) .......................................................................................................... 25

 Los Angeles v. Lyons,
 461 U.S. 95 (1983) ........................................................................................................................ 32




                                                                      vi
Case 1:25-cv-00128-JJM-LDA                          Document 41 Filed 04/14/25                             Page 7 of 48 PageID #:
                                                           1070



 Lujan v. Nat’l Wildlife Fed’n,
 497 U.S. 871 (1990) ................................................................................................................ 21, 22

 Marbury v. Madison,
 5 U.S. (1 Cranch) 137 (1803)........................................................................................................ 30

 Maryland v. King,
 567 U.S. 1301 (2012) .................................................................................................................... 37

 Mazurek v. Armstrong,
 520 U.S. 968 (1997) ........................................................................................................................ 7

 Mississippi v. Johnson,
 71 U.S. (4 Wall.) 475 (1866) .................................................................................................. 30, 31

 Murthy v. Missouri,
 603 U.S. 43 (2024) ...................................................................................................................... 1, 8

 Nat’l Park Hosp. Ass’n v. Dep’t of Interior,
 538 U.S. 803 (2003) ...................................................................................................................... 11

 New York v Trump,
 --- F. Supp. 3d ---, 2025 WL 357368 (D.R.I. Jan. 31, 2025) ........................................................ 32

 Nken v. Holder,
 556 U.S. 418 (2009) .................................................................................................................. 8, 36

 Norton v. S. Utah Wilderness All.,
 542 U.S. 55 (2004) ........................................................................................................................ 21

 Nunez-Soto v. Alvarado,
 956 F.2d 1 (1st Cir. 1992) ............................................................................................................. 32

 Open Tech. Fund v. Pack,
 470 F. Supp. 3d 8 (D.D.C. 2020) .................................................................................................. 37

 Preserve Endangered Areas of Cobb’s History, Inc. v. U.S. Army Corps of Eng’rs,
 87 F.3d 1242 (11th Cir. 1996) ...................................................................................................... 22

 Printz v. United States,
 521 U.S. 898 (1997) ...................................................................................................................... 31




                                                                      vii
Case 1:25-cv-00128-JJM-LDA                          Document 41 Filed 04/14/25                             Page 8 of 48 PageID #:
                                                           1071



 Racing Enthusiasts & Suppliers Coal. v. EPA,
 45 F.4th 353 (D.C. Cir. 2022) ....................................................................................................... 24

 Ross–Simons of Warwick, Inc. v. Baccarat, Inc.,
 217 F.3d 8 (1st Cir. 2000) ............................................................................................................. 32

 Ross–Simons of Warwick, Inc. v. Baccarat, Inc.,
 66 F. Supp. 2d 317 (D.R.I. 1999).................................................................................................... 8

 Saul v. United States,
 928 F.2d 829 (9th Cir. 1991) ........................................................................................................ 20

 SEC v. Chenery Corp.,
 332 U.S. 194 (1947) ...................................................................................................................... 25

 Seila L. LLC v. Consumer Fin. Prot. Bureau,
 591 U.S. 197 (2020) ...................................................................................................................... 16

 Sullivan v. United States,
 395 U.S. 169 (1969) ...................................................................................................................... 27

 TransUnion LLC v. Ramirez,
 594 U.S. 413 (2021) ........................................................................................................................ 9

 Trump v. New York,
 529 U.S. 125 (2020) ...................................................................................................................... 11

 United States Conference of Catholic Bishops v. U.S. Dep’t of State,
 No. 1:25-CV-00465 (TNM), 2025 WL 763738 (D.D.C. Mar. 11, 2025) ..................................... 17

 United States v. Fausto,
 484 U.S. 439 (1988) ...................................................................................................................... 20

 Univ. of Tex. v. Camenisch,
 451 U.S. 390 (1981) ........................................................................................................................ 8

 Vaquería Tres Monjitas, Inc. v. Irizarry,
 587 F.3d 464 (1st Cir. 2009) ................................................................................................... 32, 33

 Veit v. Heckler,
 746 F.2d 508 (9th Cir. 1984) ........................................................................................................ 20




                                                                     viii
Case 1:25-cv-00128-JJM-LDA                           Document 41 Filed 04/14/25                              Page 9 of 48 PageID #:
                                                            1072



 Vill. W. Associates v. Rhode Island Hous. & Mortg. Fin. Corp.,
 618 F. Supp. 2d 134 (D.R.I. 2009)................................................................................................ 14

 Winter v. Nat. Res. Def. Council, Inc.,
 555 U.S. 7 (2008). ........................................................................................................................... 7

 STATUTES
 15 U.S.C. § 9102 ............................................................................................................................. 3
 15 U.S.C. § 9502 ............................................................................................................................. 3
 15 U.S.C. § 9522 ............................................................................................................................. 3
 15 U.S.C. § 9524 ....................................................................................................................... 4, 15
 15 U.S.C. §§ 9511–26 ..................................................................................................................... 3
 20 U.S.C. § 9103 ............................................................................................................................. 3
 20 U.S.C. § 9105 ............................................................................................................................. 3
 20 U.S.C. § 9108 ....................................................................................................................... 3, 15
 28 U.S.C. § 1491 ..................................................................................................................... 14, 17
 29 U.S.C. § 172 ............................................................................................................................... 4
 29 U.S.C. § 173 ............................................................................................................................... 4
 5 U.S.C. § 701 ............................................................................................................................... 26
 5 U.S.C. § 704 ............................................................................................................................... 23
 5 U.S.C. § 706 ............................................................................................................................... 23
 Civil Service Reform Act of 1978 (“CSRA”), Pub. L. No. 95-454, 92 Stat. 1111 (1978) ........... 19

 OTHER AUTHORITIES
 Electronic Order, Mass. Fair Housing Ctr v. Dep’t of Housing and Urban Dev.,
 No. 3:25-cv-30041-RGS (Apr. 14, 2025), ECF No. [42] ......................................................... 2, 17

 Exec. Order No. 14238, 90 FR 13043 (Mar. 14, 2025) .............................................................. 3, 4

 Fed. R. Civ. P. 65(c). .................................................................................................................... 38




                                                                        ix
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25             Page 10 of 48 PageID #:
                                             1073




                                         INTRODUCTION

        Defendants respectfully submit this opposition to Plaintiffs’ Request for Emergency

 Temporary Restraining Order, ECF No. 3. Plaintiffs are twenty-one states, who attempt to join

 together their widely varying claims regarding some subset of three federal agencies that have

 taken or may take steps to comply with Executive Order 14,238: the Institute of Museum and

 Library Services, the Minority Business Development Agency, and the Federal Mediation and

 Conciliation Service. Plaintiffs also seek to enjoin the Office of Management and Budget from

 taking steps to oversee the Executive Order’s implementation. Some states assert that specific

 federal grants have been terminated; others anticipate grants may not be renewed; still others

 complain of anticipated increased costs in the resolution of their labor disputes. Plaintiffs

 demand expansive emergency relief against the Defendant agencies taking any steps to

 implement Executive Order 14,238, whether or not those steps would impact Plaintiffs.

        Article III does not permit litigation via such broad strokes. As the Supreme Court

 recently reiterated: “standing is not dispensed in gross.” Murthy v. Missouri, 603 U.S. 43, 61

 (2024). For each form of relief they seek—and as to each Defendant—Plaintiffs must

 demonstrate their standing. This, Plaintiffs cannot do.

        Nor can Plaintiffs use artful pleading to circumvent the jurisdictional bars that prevent

 litigation of their claims before this Court. Plaintiffs label all steps any Defendant agency may

 have taken or may take in the future to comply with Executive Order 14,238 as “Closure

 Decisions.” ECF No. 3 at 2. But in reality, Plaintiffs’ grievances target two broad categories of

 disparate agency activities: administration of grant agreements and personnel decisions. Neither

 category of claim may be litigated before this Court. Indeed, the Supreme Court recently

 emphasized that the Tucker Act requires litigation over the disbursement of grant funds to occur

                                                  1
Case 1:25-cv-00128-JJM-LDA            Document 41 Filed 04/14/25             Page 11 of 48 PageID #:
                                              1074



 before the Court of Federal Claims. See Department of Education v. California, No. 24A910,

 2015 WL 1008354, *2 (Apr. 4, 2025) (per curiam). Earlier today, another court in this Circuit

 dissolved a temporary restraining order that had required an agency to reinstate terminated grants

 and prohibited the agency from terminating other grants; in so doing, the court cited “the

 Supreme Court’s unmistakable directive” that the proper forum for such a case is the Court of

 Federal Claims. Electronic Order, Mass. Fair Housing Ctr v. Dep’t of Housing and Urban Dev.,

 No. 3:25-cv-30041-RGS (Apr. 14, 2025), ECF No. [42]. And personnel claims, like employee

 terminations and reductions in force, must first be litigated before Congressionally designated

 entities before a plaintiff can bring an Article III action. Plaintiffs cannot jump the line.

          For these and several other reasons discussed herein, Plaintiffs cannot show a likelihood

 of success on their claims. Indeed, none of the four factors informing whether a party is entitled

 to preliminary relief favors entry of an injunction. Plaintiffs have made no showing of

 cognizable irreparable harm likely to result in the absence of the broad relief they seek,

 particularly in the exceptional context of a preliminary injunction, and the balance of equities

 and the public interest cut against the Plaintiffs’ request.

          For all the reasons discussed herein, the Court should deny the Plaintiffs’ Motion.

                                           BACKGROUND

     I.   Statutory Background

          This suit concerns three Congressionally created agencies—the Institute of Museum and

 Library Services (“IMLS”), the Minority Business Development Agency (“MBDA”), and the

 Federal Mediation and Conciliation Service (“FMCS”).1



 1
  Plaintiffs have also sued the Office of Management and Budget (“OMB”), claiming that
 “OMB’s oversight of the [Executive Order’s implementation] precludes the possibility the
 agencies will make up for their dramatic cuts with increases elsewhere and makes certain that the
                                                    2
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25              Page 12 of 48 PageID #:
                                             1075



        A. IMLS

        Congress established IMLS in 1996. 20 U.S.C. § 9102. IMLS is headed by a director,

 whose “primary responsibility” is the “development and implementation of policy to ensure the

 availability of museum, library, and information services adequate to meet the essential

 information, education, research, economic, cultural, and civic needs of the people of the United

 States.” Id. § 9103(a), (c). To that end, the director is entitled to “appoint and determine the

 compensation of such employees as the Director determines to be necessary to carry out the

 duties of the Institute.” Id. § 9105(a). The director is also “authorized to enter into grants,

 contracts, cooperative agreements, and other arrangements with Federal agencies, public and

 private organizations, and other entities with expertise the Director determines appropriate” to

 carry out policy objectives and fulfill statutory responsibilities. Id. § 9108(c).

        B. MBDA

        Congress created MBDA, which is located within the Department of Commerce, in 2021.

 15 U.S.C. § 9502. MBDA is headed by the Under Secretary of Commerce for Minority Business

 Development. Id. § 9102(b)(1). MBDA has various ongoing initiatives. See, e.g., id. §§ 9511–

 26. For example, the MBDA Business Center Program is intended to (1) assist minority business

 in “accessing capital, contracts, and grants” and “creating and maintaining jobs”; (2) “provide

 counseling and mentoring to minority business enterprises”; and (3) “facilitate the growth of

 minority business enterprises by promoting trade.” Id. § 9522. The Under Secretary has

 authority to provide grants to entities approved to participate in the Business Center Program. Id.




 Administration will fail to spend the full amount of funding appropriated by Congress.” ECF No.
 1 ¶ 145. Although the Executive Order places certain obligations upon OMB in overseeing the
 Executive Order’s implementation, OMB is not itself subject to the Order. See Exec. Order No.
 14238, 90 FR 13043 (Mar. 14, 2025).
                                                    3
Case 1:25-cv-00128-JJM-LDA            Document 41 Filed 04/14/25            Page 13 of 48 PageID #:
                                              1076



 § 9524.

        C. FMCS

        Congress established FMCS in 1947 “to prevent or minimize interruptions of the free

 flow of commerce growing out of labor disputes, to assist parties to labor disputes in industries

 affecting commerce to settle such disputes through conciliation and mediation.” 29 U.S.C. §§

 172, 173(a). Specifically, FMCS services are available “either upon its own motion or upon the

 request of one or more of the parties to the dispute, whenever in its judgment such dispute

 threatens to cause a substantial interruption of commerce.” Id. § 173(b).

  II.   Factual Background

        On March 14, 2025, President Trump issued Executive Order No. 14,238, titled

 “Continuing the Reduction of the Federal Bureaucracy.” Exec. Order No. 14238, 90 FR 13043

 (Mar. 14, 2025). The Order calls for the “reduction in the elements of the Federal bureaucracy

 that the President has determined are unnecessary.” Id. § 1. The Order directs that IMLS,

 MBDA, FMCS, and four other agencies not at issue in this litigation—the United States Agency

 for Global Media, the Woodrow Wilson International Center for Scholars in the Smithsonian

 Institution, the United States Interagency Council on Homelessness, and the Community

 Development Financial Institutions Fund—“shall be eliminated to the maximum extent

 consistent with applicable law, and such entities shall reduce the performance of their statutory

 functions and associated personnel to the minimum presence and function required by law.” Id.

 § 2(a) (emphasis added). The Order instructs the head of each agency to submit a report to OMB

 “confirming full compliance with this order and explaining which components or functions of

 the governmental entity, if any, are statutorily required and to what extent.” Id. § 2(b).

           In accordance with the Executive Order, reorganization efforts are currently underway at


                                                   4
Case 1:25-cv-00128-JJM-LDA          Document 41 Filed 04/14/25             Page 14 of 48 PageID #:
                                            1077



 IMLS, MBDA, and FMCS.

 III.   Procedural History

        On April 4, 2025, Plaintiffs, twenty-one states, filed a Complaint for Declaratory and

 Injunctive Relief. ECF No. 1. The Complaint asserts seven counts: (1) Count I—arbitrary and

 capricious abuse of discretion under the APA against Defendants IMLS, MBDA, FMCS, and

 OMB, id. at 44–45; (2) Count II—actions contrary to law under the APA “by failing to expend

 funds appropriated by Congress, or by delaying the expenditure of such funds” against

 Defendants IMLS, MBDA, FMCS, and OMB, id. at 46; (3) Count III—notice and comment

 violations under the APA against Defendants IMLS, MBDA, FMCS, and OMB, id. at 47–48; (4)

 Count IV—violation of the Appropriations Clause against all Defendants, id. at 48–49; (5) Count

 V—violation of the separation of powers doctrine by usurping legislative authority against all

 Defendants, id. at 49–50; (6) Count VI—violation of the separation of powers doctrine through

 failure to comply with the Take Care Clause against all Defendants, id. at 50–51; and (7) Count

 VII—equitable ultra vires against all Defendants, id. at 52.

        On the same day, Plaintiffs filed a Request for Emergency Temporary Restraining Order.

 ECF No. 3. Plaintiffs request that the Court issue a stay under 5 U.S.C. § 705 of IMLS, MBDA,

 and FMCS’s plans to effectuate the Executive Order. Id. at 49. In the alternative, Plaintiffs

 request an order enjoining Defendants from implementing the Executive Order and each

 agency’s Executive Order compliance plans. Id. This would include any employee terminations

 or reductions in force as well as any grant terminations. Id. at 43–44. Plaintiffs have since

 converted their request for a temporary restraining order into a request for a preliminary

 injunction. ECF No. 31.

        In support of their Motion, Plaintiffs submitted fifty-four declarations. See ECF Nos. 3-


                                                  5
Case 1:25-cv-00128-JJM-LDA          Document 41 Filed 04/14/25             Page 15 of 48 PageID #:
                                            1078



 1–45, 35-1–9. Eighteen states claim that “Executive Order 14,238 and the ensuing federal

 agency action to put all staff on administrative leave will cause IMLS to be unable to administer

 financial awards and/or programs on which the State Library relies and on which it expects to

 rely in the future, causing significant harm to the State [institutions].” ECF No. 3-1 ¶ 8, 35-1

 (Arizona); see also ECF Nos. 3-3 (California); 3-4 (Connecticut); 3-5 (Delaware); 3-7 (Hawaii);

 3-15 (Maryland); 3-18–19 (Maine); 3-21 (Michigan); 3-22 (Minnesota); 3-23 (New Jersey); 3-

 24–25 (New Mexico); 3-27 (New York); 3-28 (Oregon); 3-31 (Rhode Island); 3-34

 (Washington); 3-35, 38 (Wisconsin); 3-43 (Illinois); 3-44 (Massachusetts). Six organizations

 that receive IMLS grants filed declarations noting that they would experience harm if their IMLS

 grants were terminated. See ECF Nos. 3-8 (Friends of the Judiciary History Center of Hawaii);

 3-9 (University of Hawaii); 3-13 (Maryland Commission on African American History and

 Culture); 3-17 (University of Maryland); 3-33 (University of Washington Information School);

 3-36 (University of Wisconsin-Stevens Point). Five states and three organizations claim that

 they have been harmed by IMLS’s termination of existing grants. See ECF Nos. 3-3 ¶ 17

 (California); 3-4 ¶ 31 (Connecticut); 3-34 ¶ 10 (Washington); 35-6 (New Jersey); 35-7 (New

 Mexico); 35-5 (University System of Maryland); 35-8 (University of Washington Information

 School); 35-9 (University of Wisconsin-Stevens Point).

        Similarly, two states claim that they will be harmed by MBDA’s potential grant

 terminations, potential grant disbursement delays, and potential elimination of support services.

 See ECF Nos. 3-12 (Maryland); 3-29 (Rhode Island). Six organizations that receive MBDA

 grants filed supporting declarations. See ECF Nos. 3-2, 35-2 (Arizona Hispanic Chamber of

 Commerce); 3-10 (University of Hawaii System); 3-11 (University of Hawaii); 3-16 (Morgan

 State University); 3-20 (Northern Great Lakes Initiative) 3-37 (University of Wisconsin). None



                                                  6
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25              Page 16 of 48 PageID #:
                                             1079



 of those states or organizations claim that that any of their MBDA grants have been terminated.

        Three states claim that FMCS’s compliance with the Executive Order would lead to

 greater costs and increased risk of litigation. See ECF Nos. 3-14 (Maryland); 3-26 (New

 Mexico); 3-30 (Rhode Island). Four organizations that utilize FMCS services filed supporting

 declarations. See ECF Nos. 3-6 (Hawaii Pacific Health); 3-32 (General Teamsters Local 251); 3-

 39 (American Federation of State, County and Municipal Employees); 3-45 (New England

 Health Care Employees Union). None of those states or organizations claim that current

 mediation efforts have been interrupted.2

                                        LEGAL STANDARD

        “[A] preliminary injunction is an extraordinary and drastic remedy, one that should not be

 granted unless the movant, by a clear showing, carries the burden of persuasion.” Mazurek v.

 Armstrong, 520 U.S. 968, 972 (1997) (quotation omitted); see also, e.g., Harris v. Wall, 217 F.

 Supp. 3d 541, 552 (D.R.I. 2016) (“When considering a request for interim injunctive relief, the

 court must be guided by the traditional equity doctrine that preliminary injunctive relief is an

 extraordinary and drastic remedy that is never awarded as of right.”).

        To warrant preliminary relief, the movant must satisfy a four-prong test, establishing

 “that he is likely to succeed on the merits, that he is likely to suffer irreparable harm in the

 absence of preliminary relief, that the balance of equities tips in his favor, and that an injunction

 is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). The third

 and fourth factors of the analysis—harm to others and the public interest— “merge when the




 2
  Plaintiffs also submitted declarations from IMLS and MBDA employees placed on
 administrative leave after the issuance of the Executive Order, as well as from the National
 Representative for the National Association of Government Employees who services FMCS.
 See ECF Nos. 3-40–42, 35-3–4.
                                                    7
Case 1:25-cv-00128-JJM-LDA             Document 41 Filed 04/14/25             Page 17 of 48 PageID #:
                                               1080



 Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).

           Typically, preliminary injunctive relief is “merely to preserve the relative positions of the

 parties until a trial on the merits can be held.” Univ. of Tex. v. Camenisch, 451 U.S. 390, 395

 (1981). A mandatory injunction, such a Plaintiffs seek here, is different—“[b]ecause a

 mandatory preliminary injunction alters rather than preserves the status quo, it normally should

 be granted only in those circumstances when the exigencies of the situation demand such relief.”

 Braintree Labs., Inc. v. Citigroup Glob. Mkts, Inc., 622 F.3d 36, 41 (1st Cir. 2010) (internal

 citation omitted). See also, e.g., Flores v. Wall, No. CA 11-69 M, 2012 WL 4471103, at *7

 (D.R.I. Sept. 5, 2012) (when injunction sought is mandatory, courts should exercise more

 caution); Ross–Simons of Warwick, Inc. v. Baccarat, Inc., 66 F. Supp. 2d 317, 327 (D.R.I. 1999)

 (same).

           Plaintiffs cannot meet this high burden in this case.

                                              ARGUMENT

   I.      Plaintiffs Cannot Establish Likelihood of Success on the Merits.

           A. Plaintiffs Have No Standing to Demand the Broad Relief Sought in their Motion.

           As a threshold matter, Plaintiffs lack the “irreducible constitutional minimum of

 standing” required to maintain a suit for the sweeping relief that they seek. Lujan v. Defs. of

 Wildlife, 504 U.S. 555, 560 (1992). To meet that constitutional requirement, Plaintiffs must

 establish that they “[have] suffered, or will suffer, an injury that is concrete, particularized, and

 actual or imminent; fairly traceable to the challenged action; and redressable by a favorable

 ruling.” Murthy v. Missouri, 603 U.S. 43, 57 (2024). The Supreme Court recently emphasized

 that “standing is not dispensed in gross.” Id. at 61 (quotation omitted) (holding that the circuit

 court in that case had erred by treating the plaintiffs and defendants, respectively, “as a unified


                                                     8
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25             Page 18 of 48 PageID #:
                                             1081



 whole”). Thus, “plaintiffs must demonstrate standing for each claim that they press” against

 each defendant, “and for each form of relief that they seek.” Id. (quoting TransUnion LLC v.

 Ramirez, 594 U.S. 413, 431 (2021)). The Supreme Court highlighted that “[h]eeding these

 conditions is critically important” in a “sprawling suit” with multiple plaintiffs, defendants, and

 claims, where plaintiffs had alleged different impacts stemming from varying conduct by

 different defendants. Id. The same requirement for careful analysis applies here.

        Although Plaintiffs frame their request for relief in sweeping terms—seeking a complete

 stay of what they refer to as three different agencies’ “Closure Decisions” or an injunction

 prohibiting the implementation of Executive Order 14,238 altogether—Plaintiffs are twenty-one

 different states, challenging the conduct of four different agencies,3 as to an unspecified number

 of grant, employment, and programmatic terminations, some alleged to have occurred, and some

 which may—or may not—occur in the future. Plaintiffs concede that four additional agencies

 included in Executive Order 14,238 “[a]re not the subject of this lawsuit,” ECF No. 3 at 10 n.3,

 yet draw their request for relief so broadly that OMB would be prohibited from implementing

 Executive Order 14,238 even with respect to them, if the Court ordered their requested relief.

 See ECF No. 3 at 49 (requesting that the Court enjoin Defendants “from implementing the

 Closure Decisions and the Closure Order”). Plainly, Plaintiffs have no standing to seek relief as

 to those agencies, having alleged no injury stemming from their conduct, and this Court therefore

 lacks jurisdiction to enter any relief as to the United States Agency for Global Media, the

 Woodrow Wilson International Center for Scholars in the Smithsonian Institution, the United




 3
  Plaintiffs challenge IMLS, MBDA, and FMCS’s implementation of the Executive Order and
 OMB’s oversight of that implementation. See ECF No. 3 at 33.
                                                  9
Case 1:25-cv-00128-JJM-LDA            Document 41 Filed 04/14/25              Page 19 of 48 PageID #:
                                              1082



 States Interagency Council on Homelessness, and the Community Development Financial

 Institutions Fund.

         Plaintiffs likewise lack standing to seek broad relief against the Defendant agencies as to

 other states and parties that are not plaintiffs before this Court—they can only assert standing, if

 at all, to remedy injury to themselves. To the extent Plaintiffs seek relief to remedy others’

 injuries, that would be a parens patriae suit, but the Supreme Court has made clear that “‘[a]

 State does not have standing as parens patriae to bring an action against the Federal

 Government,’ Haaland v. Brackeen, 599 U.S. 255, 295 (2023) (quoting Alfred L. Snapp & Son,

 Inc., Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 610 n.16 (1982));

 see also Commonwealth of Massachusetts v. Mellon, 262 U.S. 447, 485–86 (1923) (“it is no part

 of [a State’s] duty or power to enforce [its citizens’] rights in respect of their relations with the

 federal government. In that field it is the United States, and not the state, which represents them

 as parens patriae”). Therefore, Plaintiffs do not have standing to seek injunctive relief regarding

 assistance that is disbursed directly or otherwise provided via direct services to entities or

 citizens other than the Plaintiff states in this suit. See e.g. ECF No. 3 at 43–46 (citing forty-two

 states’ collective bargaining agreements that “call for the use of FMCS”); id. at 44 (citing that a

 private and public sector union “had multiple pending mediations in which the parties were using

 FMCS services”).

         For the reasons explained further herein, Plaintiffs are not likely to prevail on the merits

 of their claims, and the Court should deny relief in full. To the extent the Court is inclined to

 grant any relief, Article III—and the related requirement that the remedy sought “be limited to

 the inadequacy that produced the injury in fact that the plaintiff has established,” Gill v.




                                                   10
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25              Page 20 of 48 PageID #:
                                             1083



 Whitford, 138 S. Ct. 1916, 1931 (2018)—necessitates that any relief be drawn narrowly to

 address only demonstrated injuries to Plaintiffs in this case.

        B. Plaintiffs’ Claims Regarding Potential Future Injury are not Ripe.

        Article III further requires that the Court only adjudicate those claims that are ripe for

 review. Ripeness requires that an alleged injury be “certainly impending”; a claim is not ripe if it

 is “dependent on ‘contingent future events that may not occur as anticipated, or indeed may not

 occur at all.”’ Trump v. New York, 529 U.S. 125, 131 (2020) (citation omitted). A court lacks

 jurisdiction over un-ripe claims that do not satisfy the Constitution’s case or controversy

 requirements. “Determining whether administrative action is ripe for judicial review requires

 [courts] to evaluate (1) the fitness of the issues for judicial decision and (2) the hardship to the

 parties of withholding court consideration.” Nat’l Park Hosp. Ass’n v. Dep’t of Interior, 538

 U.S. 803, 808 (2003) (citation omitted).

        Under these standards, Plaintiffs’ alleged potential future injuries cannot form the basis

 for the Court’s subject-matter jurisdiction. Plaintiffs claim that “some [IMLS grant] payments

 have been terminated, while many others will be delayed,” “MBDA has been reduced to a

 caretaker staff [making it] virtually certain to miss payments to State-run business centers [and]

 miss the critical window to solicit grants in time to replace expiring awards,” and the absence of

 FMCS services will potentially “force more costly and less effective alternatives for addressing

 and preventing labor strife.” ECF No. 3 at 37. While Plaintiffs claim that they will be irreparably

 harmed by future delays or failures to receive IMLS, MBDA, and FMCS funds and services,

 nearly all of the claimed harm they assert is speculative. See id. at 33–42.

        Specifically, as to IMLS, the twenty-one Plaintiff states identify only eight grants that

 have been terminated. Id. at 39; ECF Nos. 3-3, 3-4, 3-34, 35-5–9. Plaintiffs speculate that “it is


                                                   11
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25              Page 21 of 48 PageID #:
                                             1084



 inevitable that many of these disbursements will be delayed, if they are processed at all.” ECF

 No. 3 at 38. Indeed, as to some cited grants, the Plaintiffs have not even submitted draw-down

 requests. See id. at 40 (“in the next four weeks, Maryland’s State-operated Banneker-Douglass-

 Tubman Museum expects to draw down funds”). Such allegations fall far short of the concrete

 “certainly impending” harms that must be alleged for a claim to be ripe. See Clapper v. Amnesty

 Intern. USA, 568 U.S. 398, 409 (2013) (“[W]e have repeatedly reiterated that threatened injury

 must be certainly impending to constitute injury in fact, and that allegations of possible future

 injury are not sufficient.”) (cleaned up). Even more so as to Plaintiffs’ allegations regarding

 MBDA: Plaintiffs identify no grants that have already been cancelled and, instead, speculate that

 “[i]t is quite likely that MBDA, with only five employees, will fail to make payments as

 scheduled—or at all—in the coming weeks.” ECF No. 3 at 42. It is notable that, as with IMLS,

 Plaintiffs cite, as their first example of why they are entitled to relief, a grant on which they have

 yet to even make a request for payment. See id. at 41 (“The University will submit its next

 payment request to MBDA by April 15, and expects to receive a disbursement of grant funds by

 April 30”).

        Plaintiffs’ second example likewise features a grantee that does not expect payment for

 over two weeks. See id. (“the University of Hawai’i Maui College . . . expects to receive its next

 reimbursement payment on April 28.”). As to grant funds not yet received, Plaintiffs identify no

 concrete harm that has resulted apart from a “chilling effect” and “eroding confidence among

 program participants and partners,” which is not a cognizable form of injury. Cf. Clapper, 568

 U.S. at 418 (“allegations of a subjective ‘chill’ are not an adequate substitute for a claim of

 specific present objective harm or a threat of specific future harm”) (quotation omitted).

 Plaintiffs also speculate that their grants will not be renewed absent injunctive relief, but they



                                                   12
Case 1:25-cv-00128-JJM-LDA             Document 41 Filed 04/14/25               Page 22 of 48 PageID #:
                                               1085



 acknowledge that any lapses stemming from non-renewal would be months away. See ECF No.

 3 at 42 (“all MBDA grants will expire on June 30 or August 30”). Plaintiffs claim harm based

 on the length of time “typically” taken in the past to renew a grant, id., but do not cite any reason

 why that length of time is required—or why the possibility of non-renewal months from now

 could, even if there is standing, justify emergency injunctive relief now. See id.

         Finally, as to FMCS: Plaintiffs rely largely on speculative assertions about potential

 future harm to labor relations because participants in labor-management disputes will need to

 select a service other than FMCS for dispute resolution. Indeed, while Plaintiffs suggest that

 their inability to use FMCS for dispute resolution will result in “costly—even life-threatening—

 disruptions” in critical industries, they cite only one dispute, that of a school district in Illinois, in

 which the Plaintiff states were actively using FMCS’s services when it stopped offering such

 services to the public sector. See ECF No. 3 at 44. And, while Plaintiffs allege that a “huge

 influx of contract disputes” is anticipated in New Mexico as a result of FMCS no longer offering

 such services, they identify no disputes that were pending before FMCS at that time. Id. at 44–

 45. Plaintiffs point to the “increased risk of strikes, labor strife, and litigation,” id. at 46, if they

 are not able to use FMCS services, but these asserted harms are wholly grounded in a speculative

 chain of possibilities. Plaintiffs cite no reason—other than their unsupported assertions that

 other dispute resolution options would be “inferior,” id.—to support their position that any of

 these harms is likely to result from the potential future unavailability of FMCS dispute resolution

 services.

         C. To the Extent they are Justiciable, Plaintiffs’ Claims Must Be Heard by Another
            Court or Administrative Body.

         While Plaintiffs characterize their claims as challenges to what they call “Closure

 Decisions,” those are not discrete agency actions. See infra part I(D). In reality, Plaintiffs

                                                     13
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25             Page 23 of 48 PageID #:
                                             1086



 claims are aimed either at grant delays or terminations, as to IMLS and MBDA, see ECF No. 3 at

 37–43, and the placement of the majority of IMLS, MBDA, and FMCS’s employees on

 administrative leave, id. at 24, 44. Both categories of claims, under federal law, must be heard

 by another body. As explained below, even if Plaintiffs had standing to seek the expansive relief

 they request, and even if their claims were ripe, they could not be adjudicated before this Court.

            1. Insofar as Plaintiffs Challenge Defendants’ Actions Concerning their Grants,
               the Tucker Act Vests Exclusive Jurisdiction Over Such Claims in the Court
               of Federal Claims.

        Some of the Defendant agencies’ activities in compliance with Executive Order 14,238

 involve the termination of grant agreements that the agencies have determined are not required

 by statute. See, e.g., ECF No. 3-3 ¶ 19 (noting termination of IMLS grant). Plaintiffs challenge

 these grant terminations as part of their lawsuit. See, e.g., ECF No. 3 at 38–39 (citing delays in

 grant funding); id. at 39 (citing terminated grants). But because—as the Supreme Court recently

 emphasized—Congress vested the Court of Federal Claims with exclusive jurisdiction over such

 claims, this Court lacks jurisdiction over such grant terminations, whether challenged

 independently, or as part of each agency’s larger compliance with Executive Order 14,238.

        The Tucker Act, 28 U.S.C. § 1491(a), “provides jurisdiction and waiver of immunity in

 the Claims Court so long as the action: 1) is against the United States; 2) seeks relief over

 $10,000; and 3) is founded upon the Constitution, federal statute, executive regulation or

 governmental contract.” Vill. W. Associates v. Rhode Island Hous. & Mortg. Fin. Corp., 618 F.

 Supp. 2d 134, 138 (D.R.I. 2009) (emphasis supplied). As a result, the Court of Federal Claims

 “has exclusive jurisdiction over claims ‘founded upon a contract.’” Com. of Mass. by Dept. of

 Pub. Welfare v. Departmental Grant Appeals Bd. of U.S. Dept. of Health & Human Services, 815

 F.2d 778, 785 (1st Cir. 1987).


                                                  14
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25             Page 24 of 48 PageID #:
                                             1087



          Here, Plaintiffs’ claims are grounded in the alleged need for undisrupted funding

 pursuant to grant agreements with IMLS and MBDA. See ECF No. 3 at 40 (“[IMLS] funds must

 be paid on time in order to prevent immediate and serious disruptions to the states’ library and

 museum services.”); id. at 41 (“States expect the payment of funds from MBDA in the coming

 weeks, and any delay in the disbursement of those funds will cause them immediate harm.”).

 Plaintiffs posit that as a result of IMLS and MBDA’s implementation of the Executive Order, the

 agencies will likely default on upcoming grant payments and fail to timely renew future grants to

 prevent lapses in funding.4 Id. at 42–43. The heart of this action, then, is a request to prevent the

 termination of those agreements or the enforcement of monetary obligations of the government

 pursuant to those agreements.

          For purposes of the Tucker Act, Plaintiffs’ grant agreements are contracts because they

 set out obligations that must be fulfilled in exchange for consideration from the government.

 Indeed, Congress has made clear that any funds disbursed to grantees like Plaintiffs are paid via

 grant agreements, i.e. contracts, between the subject agencies and the grantees. See 20 U.S.C. §

 9108(c) (“The Director [of the IMLS] is authorized to enter into grants, contracts, cooperative

 agreements, and other arrangements with Federal agencies, public and private organizations, and

 other entities with expertise the Director determines appropriate . . . .”); 15 U.S.C. § 9524(c)(1)

 (“The amount of financial assistance provided by the Under Secretary under an MBDA Business

 Center agreement shall be not less than $250,000 for the term of the agreement.”). Plaintiffs

 attempt to sidestep the Tucker Act’s jurisdictional mandate by depicting their claims as requests

 for equitable relief stemming from statutory mandates. See ECF No. 3 at 48 (“Should IMLS,

 MBDA, and FMCS close tomorrow, Plaintiff states would be thrown into chaos and uncertainty



 4
     FMCS does not issue grants. See ECF No. 3 at 19–20.
                                                  15
Case 1:25-cv-00128-JJM-LDA          Document 41 Filed 04/14/25             Page 25 of 48 PageID #:
                                            1088



 as they race to replace the funding and expertise that has suddenly been interrupted. The federal

 government, on the other hand, suffers not at all if it were to spend the appropriations as already

 planned and directed by with the passage of the Continuing Appropriations Act.”). But this

 misstates the record: Congress did not directly appropriate funds to the states; it authorized the

 Defendant agencies to issue grants. Those grants are contracts, and suits challenging their

 termination—and Plaintiffs’ demand that the government keep paying funds out from these

 terminated grants—belong in the Court of Federal Claims.

        The government acknowledges that the subject grants are funded via appropriations, but

 that is true for all government contracts—after all, virtually no federal funds can be paid absent

 appropriations. See Seila L. LLC v. Consumer Fin. Prot. Bureau, 591 U.S. 197, 207 (2020)

 (noting that most agencies rely on the annual appropriations process for funding). Nothing in the

 statutory framework mandates payment by methods other than grant agreements. Indeed,

 Plaintiffs’ request to enjoin implementation of the Executive Order is premised on the notion that

 the Defendant agencies will be unable to distribute grant funds to Plaintiffs. See, e.g., ECF No.

 3-2 ¶¶ 26–27 (“In the next four months, we are scheduled to receive

 disbursements/reimbursements of $3,392,933.27 . . . If we do not receive such

 disbursements/reimbursements, it will stop statewide and local public library programs

 immediately and before they can be completed . . . .”); ECF No. 3-16 ¶¶ 9–12 (Maryland

 MBDA center “experienced unprecedented challenges in receiving MBDA funds” through a

 $109,000 “delay in or loss of funding.”).

        Such challenges to grant terminations belong in the Court of Federal Claims. Recently,

 the Supreme Court in Department of Education v. California, 2025 WL 1008354 (Apr. 4, 2025),

 considered a temporary restraining order “enjoining the Government from terminating various



                                                 16
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25             Page 26 of 48 PageID #:
                                             1089



 education-related grants” and “requir[ing] the Government to pay out past-due grant obligations

 and to continue paying obligations as they accrue.” Id. at *1. The Supreme Court held that “the

 Government is likely to succeed in showing the District Court lacked jurisdiction to order the

 payment of money under the APA.” Id. This is so because “the APA’s limited waiver of

 immunity does not extend to orders ‘to enforce a contractual obligation to pay money’ along the

 lines of what the District Court ordered.” Id. (quoting Great-West Life & Annuity Ins. Co. v.

 Knudson, 534 U. S. 204, 212 (2002)). “Instead, the Tucker Act grants the Court of Federal

 Claims jurisdiction over suits based on ‘any express or implied contract with the United States.’”

 Id. (quoting 28 U. S. C. § 1491(a)(1)); see also Electronic Order, Mass. Fair Housing Ctr v.

 Dep’t of Housing and Urban Dev., No. 3:25-cv-30041-RGS (Apr. 14, 2025), ECF No. [42]

 (recognizing that the Supreme Court’s ruling comprises an “unmistakable directive” that

 challenges to grant terminations—even those purporting to be grounded in federal statutes—

 must be litigated in the Court of Federal Claims).

        The Supreme Court’s conclusion was foreshadowed in United States Conference of

 Catholic Bishops v. U.S. Department of State, which amplifies upon California’s reasoning. No.

 1:25-CV-00465 (TNM), 2025 WL 763738 (D.D.C. Mar. 11, 2025), appeal docketed, No. 25-

 5066 (D.C. Cir. Mar. 14, 2025). In that case, a grantee that had been receiving funds via

 cooperative agreements with the State Department sought a temporary restraining order

 preventing the State Department from terminating cooperative agreements with that grantee. Id.

 at *2–3. The court noted that the grantee had millions of dollars in requested reimbursements

 pending and that without ongoing funding the grantee claimed “thousands of refugees already in

 its care would soon lack enough support.” Id. at *2. Nonetheless, the court declined to grant

 preliminary relief, holding the Tucker Act stripped it of jurisdiction to entertain such a claim. See



                                                  17
Case 1:25-cv-00128-JJM-LDA            Document 41 Filed 04/14/25              Page 27 of 48 PageID #:
                                              1090



 id. at *4–8. The court explained that “the ultimate inquiry of whether a claim is ‘essentially a

 contract action’ turns on two key considerations: ‘[t]he source of rights upon which the plaintiff

 bases its claims’ and the type of relief sought.” Id. at *5 (quoting Albrecht v. Comm. on Emp.

 Benefits of Fed. Rsrv. Emp. Benefits Sys., 357 F.3d 62, 68 (D.C. Cir. 2004)). The court found the

 latter factor to be dispositive, reasoning that the relief the plaintiff sought in that case “sounds in

 contract.” Id. (quoting Albrecht, 357 F.3d at 68). There, as here, the grantee sought an order

 enjoining the government from taking steps to give effect to a letter terminating the plaintiff’s

 grant. See id. As the Court explained, however, “[s]tripped of its equitable flair, the requested

 relief seeks one thing: [plaintiff] wants the Court to order the Government to stop withholding

 the money due under [its grant agreements]. In even plainer English: [the plaintiff] wants the

 Government to keep paying up. Thus [the plaintiff] seeks the classic contractual remedy of

 specific performance.” Id. at *7 (quotation omitted). The court held that treating the remedies

 sought in that case as equitable “would be to distort the obvious” since plaintiffs asked the court

 “to reverse the Government’s decision to cease a financial relationship with the [plaintiff].” Id.

         Because Plaintiffs seek to ensure the government’s continued compliance with the terms

 of their grant agreements, their claims sound in contract. Indeed, Plaintiffs’ Motion and

 accompanying affidavits repeatedly emphasize that uninterrupted grant funding is necessary to

 ensure that continued viability of their programs. Plaintiffs’ claims rest on the need for

 assurances that the government will continue to comply with existing grant agreements. In other

 words, Plaintiffs want the Government to keep paying up. As such, jurisdiction for Plaintiffs’

 claims related to those grant agreements lies exclusively in the Court of Federal Claims.

 Because Plaintiffs cannot establish jurisdiction, they cannot succeed on the merits of claims

 related to grant agreements, and their request for extraordinary injunctive relief should be



                                                   18
Case 1:25-cv-00128-JJM-LDA          Document 41 Filed 04/14/25             Page 28 of 48 PageID #:
                                            1091



 rejected on that basis alone.

            2. Administrative Bodies Identified in the Civil Service Reform Act of 1978 are
               the Exclusive Channels for Any Challenge to the Propriety of Federal
               Employee Removals.

        While Plaintiffs’ allegations concerning IMLS and MBDA focus on those agencies’

 administration of grant agreements, Plaintiffs’ allegations concerning FMCS (and to a lesser

 extent, the other two agencies) focus on its employment actions. Specifically, Plaintiffs assert

 that “[e]ach agency has [] placed most of its workforce on administrative leave—immediately

 depriving them of access to email and locking them out of their offices—and initiated large-scale

 reductions in force.” ECF No. 3 at 24. Federal law does not permit Plaintiffs to employ an APA

 action to challenge the removal of federal employees—much less the removal of third-party

 employees.

        Rather, in the Civil Service Reform Act of 1978 (“CSRA”), Pub. L. No. 95-454, 92 Stat.

 1111 (1978), Congress established a comprehensive framework for evaluating adverse

 employment actions against federal employees and presenting an integrated scheme of both

 administrative and judicial review of challenged personnel practices of challenged personnel

 practices. In so doing, Congress balanced “the legitimate interests of the various categories of

 federal employees with the needs of sound and efficient administration.” United States v. Fausto,

 484 U.S. 439, 445 (1988). With limited exceptions not relevant here, Congress explicitly sought

 to reduce the participation of the federal courts, preferring the use of the CSRA’s grievance

 procedures over all other remedies.

        Specifically, in passing the CSRA, Congress made the Office of Special Counsel, the

 Merit Systems Protection Board (“MSPB”), and the Federal Labor Relations Authority

 (“FLRA”) the exclusive means for federal employees, applicants, labor unions and other


                                                 19
Case 1:25-cv-00128-JJM-LDA          Document 41 Filed 04/14/25             Page 29 of 48 PageID #:
                                            1092



 interested parties to raise challenges to final, non-discrimination-related, adverse employment

 actions. See United States v. Fausto, 484 U.S. 439, 455 (1988), even when those disputes involve

 constitutional claims, see Elgin v. Dep’t of the Treasury, 567 U.S. 1, 10–15 (2012) (citation

 omitted); see also Am. Fed’n of Gov’t Emps., AFL-CIO v. Trump, 929 F.3d 748, 752 (D.C. Cir.

 2019) (“AFGE v. Trump”).

        The Supreme Court has long recognized that Congress established the CSRA as a

 comprehensive scheme covering all matters involving federal employment. See Fausto, 484 U.S.

 at 455. Indeed, the Supreme Court has held that, even if a federal employee was raising

 constitutional claims, the CSRA imposes an “implied preclusion of district court jurisdiction[.]”

 Elgin, 567 U.S. at 12. The CSRA thus precludes “precludes courts from providing supplemental

 remedies.” Lampon-Paz v. OPM, 732 F. App’x 158, 161 (3d Cir. 2018); Saul v. United States,

 928 F.2d 829, 835–42 (9th Cir. 1991) (“Congress is better equipped than we to strike an

 appropriate balance between employees’ interests in remedying constitutional violations and the

 interests of the government and the public in maintaining the efficiency, morale and discipline of

 the federal workforce.”); Veit v. Heckler, 746 F.2d 508, 510–11 (9th Cir. 1984).

        Because federal law requires channeling of all claims related to federal employment via

 the administrative bodies that Congress created in the CSRA, this Court lacks jurisdiction to

 consider Plaintiffs’ claims to the extent they challenge the placement of federal employees on

 leave. Indeed, such a holding is consistent with the Supreme Court’s emphasis earlier this month

 in California that the APA does not allow litigants to forestall properly applicable channeling

 regimes that Congress established. See California, 2025 WL 1008354, at *1.

        D. Plaintiffs’ APA Claims Fail Because They Do Not Seek Judicial Review of a
           Discrete Final Agency Action.

        Plaintiffs’ claims also fail because they are not challenging a discrete agency action, but

                                                 20
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25             Page 30 of 48 PageID #:
                                             1093



 rather a collection of grant terminations, personnel actions, and programmatic activities. Under

 the APA, plaintiffs “must direct [their] attack against some particular ‘agency action’ that causes

 [them] harm.” Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 891 (1990). And that agency action

 must be “circumscribed” and “discrete[.]” Norton v. S. Utah Wilderness All. (“SUWA”), 542

 U.S. 55, 62 (2004). Consistent with these principles, the APA does not permit Plaintiffs to “seek

 wholesale improvement” of agency management “by court decree”—even in the face of

 allegations of “rampant” violations of law. Lujan, 497 U.S. at 891. “Because ‘an on-going

 program or policy is not, in itself, a final agency action under the APA,’ [a court’s] jurisdiction

 does not extend to reviewing generalized complaints about agency behavior.” Cobell v.

 Kempthorne, 455 F.3d 301, 307 (D.C. Cir. 2006) (citation omitted). “Consequently, as each case

 only presents the court with a narrow question to resolve, [the court] can have no occasion to

 order wholesale reform of an agency program.” Id.

        Plaintiffs improperly seek wholesale judicial review of IMLS, MBDA, and FMCS’s

 implementation of the Executive Order. For example, Plaintiffs argue that their “libraries and

 museums are entitled to millions of dollars in grant payments from IMLS in the coming weeks”

 and “some of those payments have been terminated, while many others will be delayed.” ECF

 No. 3 at 37. Plaintiffs further state “because MBDA has been reduced to a caretaker staff, it is

 virtually certain to miss payments to State-run business centers, and it will miss the critical

 window to solicit grants in time to replace expiring awards.” Id. In addition, Plaintiffs contend

 that FMCS “furnishes a critical mediation and conciliation service that sates were actively using

 at the time the agency was closed; in its absence, states will need to turn to more costly and less

 effective alternatives for addressing and preventing labor strife.” Id. Notably, Plaintiffs do not

 challenge specific grant terminations; specific payments they claim to be entitled to; or specific



                                                  21
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25             Page 31 of 48 PageID #:
                                             1094



 provision of mediation services—they challenge the entire course of conduct of three agencies

 moving forward. The APA does not permit such challenges.

        In Lujan, the Supreme Court dispelled any notion that such a programmatic challenge can

 proceed under the APA:

        [I]t is at least entirely certain that the flaws in the entire “program”—consisting
        principally of the many individual actions referenced in the complaint, and
        presumably actions yet to be taken as well—cannot be laid before the courts for
        wholesale correction under the APA, simply because one of them is ripe for
        review and adversely affects [a plaintiff].

 497 U.S. at 892–93 (footnote omitted). Just as in Lujan, Plaintiffs’ APA counts seek to bring a

 collective, programmatic, challenge to the possibility that the agencies will fail to disburse grant

 funds as they become due and the prospect that they may be unable to comply with generalized

 purported statutory obligations given their current staffing decisions. But these are grab-bag

 challenges to general agency operations, not discrete challenges to concrete agency actions.

        Wholesale challenges like Plaintiffs’ are impossible to litigate under the mechanics of

 judicial review that the APA contemplates. “[W]hen a party seeks review of agency action under

 the APA, the district judge sits as an appellate tribunal.” Am. Bioscience, Inc. v. Thompson, 269

 F.3d 1077, 1083 (D.C. Cir. 2001). Accordingly, “APA review typically takes place on the basis

 of a record compiled by the agency” consisting of the materials considered “in making the

 challenged decision.” Cousins v. Sec’y of the U.S. Dep’t of Transp., 880 F.2d 603, 610 (1st Cir.

 1989). Wholesale challenges to programmatic decision-making make it impossible for the

 agency to “compil[e] and organiz[e] the complete administrative record” for the agency action,

 see Preserve Endangered Areas of Cobb’s History, Inc. v. U.S. Army Corps of Eng’rs, 87 F.3d

 1242, 1246 n.2 (11th Cir. 1996), because there is no discrete agency action, as necessary for the

 parties to proceed to summary judgment. Nor is it possible for the Court to apply the applicable



                                                  22
Case 1:25-cv-00128-JJM-LDA          Document 41 Filed 04/14/25             Page 32 of 48 PageID #:
                                            1095



 standard of review, see 5 U.S.C. § 706, to the agency action. Accordingly, Plaintiffs are unlikely

 to succeed on their APA claims because they are sweeping programmatic challenges and thus not

 cognizable under the APA.

        Moreover, IMLS, MBDA, and FMCS’s ongoing compliance with the Executive Order

 does not itself constitute final agency action reviewable under the APA. To constitute final

 agency action: (1) “the action must mark the consummation of the agency’s decisionmaking

 process” and (2) it “must be one by which rights or obligations have been determined, or from

 which legal consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177–78 (1997) (cleaned

 up). Plaintiffs’ argument that “[b]y terminating large portions of what these agencies do,” IMLS,

 MBDA, and FMCS have taken final agency actions under Bennett, ECF No. 3 at 23–24, misses

 the mark.

        Under Bennett’s first prong, the agencies’ ongoing implementation of the Executive

 Order marks the initiation, not the consummation, of the agency’s decision-making process. The

 agencies’ actions reflect decisions by agency leadership to realign their policy goals and actions

 consistent with the current administration’s directives. Those decisions are “preliminary” in

 nature and “not directly reviewable[.]” See 5 U.S.C. § 704. “[They] may be a step, which if

 erroneous will mature into a prejudicial result[.]” Chi. & S. Air Lines, Inc. v. Waterman S.S.

 Corp., 333 U.S. 103, 112 (1948). But that does not make the interim decisions themselves the

 “consummation of the administrative process” reevaluating the agency’s priorities. Id. at 113; see

 EPA v. Brown, 431 U.S. 99, 104 (1977) (“For [courts] to review [agency actions] not yet

 promulgated, the final form of which has only been hinted at, would be wholly novel.”);

 Appalachian Energy Grp. v. EPA, 33 F.3d 319, 322 (4th Cir. 1994) (no final agency action

 where agency “has not taken any action at this point triggering [the court’s] power to review its



                                                 23
Case 1:25-cv-00128-JJM-LDA          Document 41 Filed 04/14/25             Page 33 of 48 PageID #:
                                            1096



 position”).

        Nor do the agencies’ attempts to implement the Executive Order satisfy the second

 Bennett prong. Prong two’s language includes terms of art reflecting “a ‘pragmatic’ inquiry that

 requires courts to examine the ‘concrete consequences’ of an agency action.” Racing Enthusiasts

 & Suppliers Coal. v. EPA, 45 F.4th 353, 358 (D.C. Cir. 2022) (citation omitted). The court must

 consider the “concrete impact the [agency action] had on [the Plaintiffs].” Indep. Equip. Dealers

 Ass’n v. EPA, 372 F.3d 420, 427 (D.C. Cir. 2004); see also FTC v. Standard Oil Co. of Cal., 449

 U.S. 232, 239 (1980) (considering whether agency action had a “‘direct and immediate . . . effect

 on the day-to-day business’ of the complaining parties” (citation omitted)); City of New York v.

 U.S. Dep’t of Def., 913 F.3d 423, 431 (4th Cir. 2019) (“This limitation ensures that judicial

 review does not reach into the internal workings of the government, and is instead properly

 directed at the effect that agency conduct has on private parties”). Plaintiffs’ claims would not

 stem from the programmatic efforts of the agency writ large, but from specific challenges to

 specific activities stemming from programmatic plans—from a grant termination (were such

 terminations reviewable under the APA, which they are not), or the specific cancellation of

 services to which the Plaintiffs had a legal entitlement. But they do not bring those specific

 challenges—and they cannot subsume concrete final agency action within the banner of a

 programmatic challenge more generally.

        E. Defendants’ Staffing Determinations are Themselves Committed to Agency
           Discretion.

        Plaintiffs repeatedly complain about Defendants’ staffing decisions, which they say

 may—though they have not yet—hindered the provision of what Plaintiffs claim are the

 Defendants’ legally mandated obligations. But this conflates two distinct inquires: (1) agency

 staffing determinations, on one hand, and (2) specific provision of specific services, on the other.

                                                 24
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25              Page 34 of 48 PageID #:
                                             1097



 The former is committed to agency discretion, and Plaintiffs cannot use their fears about the

 latter to justify challenges to the former, particularly in the absence of concrete actions to

 terminate statutorily required obligations.

        As a result, Plaintiffs are unlikely to succeed on the merits of their arbitrary and

 capricious claim regarding staffing changes, which involve actions committed to agency

 discretion by law. “Judicial review under [the arbitrary and capricious] standard is deferential,

 and a court may not substitute its own policy judgment for that of the agency.” FCC v.

 Prometheus Radio Project, 592 U.S. 414, 423 (2021). Rather, the Court must ensure “that the

 agency has acted within a zone of reasonableness[.]” Id. “[T]he standard of review is highly

 deferential” in determining whether an action is arbitrary and capricious, Littlefield v. U.S. Dep’t

 of the Interior, 85 F.4th 635, 643 (1st Cir. 2023), cert. denied sub nom. Littlefield v. Dep't of the

 Interior, 144 S. Ct. 1117 (2024), and agency action regarding reallocation of resources and

 reorganizing of enforcement priorities after a change in presidential administrations, if

 reviewable at all, must be afforded highly deferential rational basis review, cf. Lincoln v. Vigil,

 508 U.S. 191, 193 (1993) (noting that, absent a statutory directive to the contrary, an agency has

 unreviewable “capacity to adapt to changing circumstances and meet its statutory responsibilities

 in what it sees as the most effective or desirable way.”). Plaintiffs bear the burden of making

 such a showing. See generally DeVillers v. Blue Cross & Blue Shield of Rhode Island, No. CA

 13-173 ML, 2014 WL 1338420, at *4 (D.R.I. Mar. 31, 2014) (noting that the plaintiff carries the

 burden of showing that agency action is arbitrary and capricious).

        Courts lack the power to “dictat[e] to the agency the methods [and] procedures” the

 agency must use to complete its statutory obligations. Vt. Yankee, 435 U.S. at 524–25 (quoting

 SEC v. Chenery Corp., 332 U.S. 194, 196 (1947)). Indeed, internal staffing decisions are



                                                   25
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25             Page 35 of 48 PageID #:
                                             1098



 traditionally left to an agency’s discretion. See id. at 524 (explaining that the Supreme “Court has

 for more than four decades emphasized that” even outward facing “procedures [are] basically to

 be left within the discretion of the agencies to which Congress had confided the responsibility for

 substantive judgments”). To override these principles and enjoin agency leadership from

 exercising procedural control over its own staff so as to ensure that staff is carrying out statutory

 obligations or otherwise exercising agency leadership’s policies would be an extraordinary

 violation of the separation of powers. Such activities are “committed to agency discretion by

 law.” 5 U.S.C. § 701(a)(2). “In determining whether a matter has been committed solely to

 agency discretion, [courts] consider both the nature of the administration action at issue and the

 language and the structure of the statute that supplies the applicable legal standards for reviewing

 that action.” Drake v. FAA, 291 F.3d 59, 70 (D.C. Cir. 2002). Here, each factor shows that

 Defendants’ managerial decisions are committed to agency discretion.

         First, these decisions fit neatly among those “categories of administrative decisions that

 courts traditionally have regarded as ‘committed to agency discretion.’” Lincoln, 508 U.S. at

 191–92 (quoting 5 U.S.C. § 701). Individual staffing decisions reflect efforts to determine

 whether ongoing agency actions “best first the agency’s overall policies” under new leadership

 and “whether agency resources are best spent on” current projects or whether they would be

 better spent differently. Heckler v. Chaney, 470 U.S. 821 (1985). “The agency is far better

 equipped than the courts to deal with the many variables involved in the proper ordering of its

 priorities.” Id. at 831–32.

         Second, Plaintiffs can point to no particular statute limiting the agency’s inherent

 discretion to make independent staffing decisions. Again, agencies generally have broad

 discretion to fashion internal procedures for formulating policies and implementing a statute.



                                                  26
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25              Page 36 of 48 PageID #:
                                             1099



 See Vt. Yankee, 435 U.S. at 543.

        Ultimately, if Plaintiffs are dissatisfied with the provision of specific services in a manner

 that would constitute final agency action, they may challenge that action. And they cannot

 preemptively challenge staffing determinations antecedent to those actions on the fear that the

 agency may not be able to comply with any statutory mandates. Said differently, a person may

 be able to challenge a final agency action that injures them; they cannot challenge the staffing

 determinations that decided which line employee made that determination. But it is the latter

 challenge Plaintiffs bring, because they cannot bring the former.

        F. Plaintiffs Cannot Show a Likelihood of Success on their Claims Grounded in
           Each Agency’s Appropriations Statute.

        Plaintiffs’ claims grounded in statute, see ECF No. 3 at 31–33, likewise cannot succeed.

 Plaintiff’s arguments rest on the notion that the Continuing Appropriations Act, in which

 Congress appropriated funds to IMLS, MBDA, and FMCS for the remainder of fiscal year 2025

 to carry out their obligations under their respective statutes, creates a statutory obligation for

 IMLS, MBDA, and FMCS to spend the money appropriated for grant funding or provision of

 services for Plaintiffs, thus transforming the inquiry into one of statutory assessment. See id.

 But the Continuing Appropriations Act comprises instructions for appropriations, and those

 appropriations have been made. When Congress demands direct expenditures, it knows how to

 do so. Compare, e.g., Sullivan v. United States, 395 U.S. 169, 172 (1969) (quoting statutory

 language providing that funds “shall be allocated to and expended for”) (emphasis added).

        Neither that statute, nor the agency-specific statutes under which Plaintiffs claim reliance,

 create an obligation as to specific funds owed to Plaintiffs or services to be provided to Plaintiffs,

 or creates a statutory prohibition on terminating any particular grant or service. The

 appropriations are not to any of the Plaintiffs; rather, the appropriations are to each agency. And,

                                                   27
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25              Page 37 of 48 PageID #:
                                             1100



 since there is no statutory directive to the contrary, each agency—having received its

 appropriation from Congress—has unreviewable “capacity to adapt to changing circumstances

 and meet its statutory responsibilities in what it sees as the most effective or desirable way.”

 Lincoln, 508 U.S. at 193. In other words, Plaintiffs cannot challenge their access to funding via

 the appropriations channel.

         Fundamentally, Plaintiffs are not funded through direct congressional appropriations,

 rather, they are explicitly funded through grant agreements with IMLS and MBDA. See supra

 part I(C)(1). Execution of those grant agreements—and their terminations—are governed by the

 applicable grant agreements. Defendants’ conduct under those grant agreements are

 reviewable—as Defendants argue, in the Court of Federal Claims—but the mere fact that a grant

 agreement is funded through an appropriation does not mean that the routine execution of that

 grant agreement takes on statutory—let alone constitutional—dimensions.

         Notably, Plaintiffs do not otherwise explain how the specific services the agencies

 provide are statutorily mandated, much less that they have been terminated. That is their burden

 at this stage.

         G. Plaintiffs Cannot Show a Likelihood of Success on their Constitutional Claims.

         Plaintiffs’ constitutional claims alleging violations of the Separation of Powers and the

 Take Care Clause, see ECF No. 3 at 33–36, are meritless. As a threshold matter, Plaintiffs’

 asserted constitutional claims are the same claims discussed above, dressed up in constitutional

 language—as the Supreme Court has confirmed, “claims simply alleging that the President has

 exceeded his statutory authority are not ‘constitutional’ claims.” Dalton v. Specter, 511 U.S.

 462, 473 (1994). In Dalton, the Supreme Court rejected the proposition that “whenever the

 President acts in excess of his statutory authority, he also violates the constitutional separation of


                                                  28
Case 1:25-cv-00128-JJM-LDA            Document 41 Filed 04/14/25               Page 38 of 48 PageID #:
                                              1101



 powers doctrine.” Id. at 471. Not “every action by the President, or by another executive

 official, in excess of his statutory authority is ipso facto in violation of the Constitution.” Id. at

 472. In reaching this conclusion, the Supreme Court carefully “distinguished between claims of

 constitutional violations and claims that an official has acted in excess of his statutory authority.”

 Id. (collecting cases). The Constitution is implicated only if executive officers rely on it as “[t]he

 only basis of authority” or if the officers rely on an unconstitutional statute. Id. at 473 & n.5.

 Here, Plaintiffs’ claims focus entirely on their contentions that the Defendant agencies have not

 acted consistent with statutory obligations. ECF No. 3 at 33–37. Under Dalton, such claims

 cannot succeed.

         Plaintiffs’ claim under the Take Care Clause, see ECF No. 1 ¶¶ 192–97 (Count VI), also

 fails on its own merits. It should be noted at the outset that the Government is not aware of any

 case that has ever held that the Take Care Clause can be used as a mechanism to obtain

 affirmative relief. In reality, that claim comprises a broad programmatic attack against the

 President as well as the agency Defendants in an attempt to circumvent the limitations of the

 APA. Plaintiffs cannot prevail on their Take Care Clause claim because the Take Care Clause

 does not provide a cause of action against the President or any other Defendant, and this Court,

 in any event, has no jurisdiction to issue declaratory or injunctive relief against the President in

 his official capacity based on constitutional claims. See Dalton, 511 U.S. at 473. Moreover,

 even if the Clause could furnish a basis for affirmative relief, Plaintiffs seek to rely on violations

 of purported duties that are found nowhere in the statutes establishing the Defendant agencies,

 but rather, are based on Plaintiffs’ subjective views about how to best implement and administer

 those agencies.




                                                    29
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25             Page 39 of 48 PageID #:
                                             1102



        Through the Take Care Clause, the Constitution vests the President with broad,

 discretionary authority to “take Care that the Laws be faithfully executed.” U.S. Const. art. II, §

 3. Inevitably, the laws that the President executes are those enacted by Congress. But no court

 has read the Take Care Clause as opening the door to any plaintiff seeking to challenge the way

 the President executes Congress’s laws. Rather, as the Supreme Court has recognized, the duty

 of the President when exercising his power to see that the laws are faithfully executed is “purely

 executive and political,” and not subject to judicial direction. Mississippi v. Johnson, 71 U.S. (4

 Wall.) 475, 499 (1866); see Marbury v. Madison, 5 U.S. (1 Cranch) 137, 165–66 (1803) (“[T]he

 President is invested with certain important political powers, in the exercise of which he is to use

 his own discretion, and is accountable only to his country in his political character.”). To hold

 otherwise would upset our constitutional scheme of separation of powers and allow judicial

 superintendence over the exercise of Executive power that the Clause commits to the President

 alone. Baker v. Carr, 369 U.S. 186, 217 (1962) (Courts lack jurisdiction over a claim where

 there is “a textually demonstrable constitutional commitment of the issue to a coordinate political

 department.”); see also Dalton, 511 U.S. at 474–75 (judicial review of discretionary Presidential

 decisions “is not available”); Lujan, 504 U.S. at 577 (holding that it would be improper for the

 courts to take over the President’s duty to “take Care that the Laws be faithfully executed”

 (quoting U.S. Const. art. II, § 3)); Marbury, 5 U.S. (1 Cranch) at 170 (“The province of the court

 is, solely, to decide on the rights of individuals, not to enquire how the executive, or executive

 officers, perform duties in which they have a discretion. Questions, in their nature political, or

 which are, by the constitution and laws, submitted to the executive, can never be made in this

 court.”); Chi. & S. Air Lines, 333 U.S. at 114 (refusing to review President’s decision that




                                                  30
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25             Page 40 of 48 PageID #:
                                             1103



 “embod[ied] Presidential discretion as to political matters beyond the competence of the courts

 to adjudicate”); Mississippi, 71 U.S. (4 Wall.) at 499.

        Nor does the Take Care Clause provide a basis to review the actions of subordinate

 Executive Branch officials. The Clause speaks only to the President, not to his subordinates, and

 ensures that the President is principally responsible for the actions of the Executive Branch and

 directly accountable to the people through the political process. See Free Enter. Fund v. Pub.

 Co. Acct. Oversight Bd., 561 U.S. 477, 492–93 (2010) (“It is his responsibility to take care that

 the laws be faithfully executed.”); id. at 495–97; see also Printz v. United States, 521 U.S. 898,

 922 (1997); Morrison v. Olson, 487 U.S. 654, 689–90 (1988); Clinton v. Jones, 520 U.S. 681,

 712–13 (1997) (Breyer, J., concurring). A subordinate Executive officer cannot violate the

 President’s duty to faithfully execute the laws. To the extent Plaintiffs seek to challenge the

 other Defendants’ alleged attempt to undermine the statutes recognizing IMLS, MBDA, and

 FMCS, they cannot do so through the Take Care Clause, but must do so, if at all, through the

 APA, which in this case presents separate insurmountable obstacles for Plaintiffs.

                                             *******

        In sum, for all the reasons discussed above, Plaintiffs cannot show a likelihood of success

 on their claims.

  II.   Plaintiffs Have Failed to Demonstrate that They Will Suffer Irreparable Harm
        Unless the Court Grants the Requested Relief.

        Apart from the lack of any likelihood of success, Plaintiffs also have failed to

 demonstrate that they will suffer irreparable harm if the Court does not enter the requested

 preliminary injunction. Irreparable harm is “the essential prerequisite for equitable relief.”

 Braintree Lab’ys, Inc. v. Citigroup Glob. Markets Inc., 622 F.3d 36, 41 (1st Cir. 2010) (quotation




                                                  31
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25           Page 41 of 48 PageID #:
                                             1104



 omitted); see also Sampson v. Murray, 415 U.S. 61, 88 (1974) (“[T]he basis of injunctive relief

 in the federal courts has always been irreparable harm.”).

        “The burden of demonstrating that a denial of interim relief is likely to cause irreparable

 harm rests squarely upon the movant.” Charlesbank Equity Fund II v. Blinds To Go, Inc., 370

 F.3d 151, 162 (1st Cir. 2004) (quoting Ross–Simons of Warwick, Inc. v. Baccarat, Inc., 217 F.3d

 8, 18 (1st Cir. 2000)). To meet this burden, Plaintiffs must demonstrate a “likelihood of

 substantial and immediate irreparable injury, as opposed to speculative claims of future injury.”

 Nunez-Soto v. Alvarado, 956 F.2d 1, 3 (1st Cir. 1992) (citing Los Angeles v. Lyons, 461 U.S. 95,

 111 (1983)). Furthermore, the irreparable harms pled must be harms to the Plaintiffs; Plaintiffs

 may not rely on alleged harms to third parties in requesting a preliminary injunction. CMM

 Cable Rep., Inc. v. Ocean Coast Props., Inc., 48 F.3d 618, 622 (1st Cir.1995) (“the issuance of a

 preliminary injunction requires a showing of irreparable harm to the movant rather than to one or

 more third parties”) (emphasis in original).

        In general, economic harm does not compromise “irreparable injury” under First Circuit

 precedent. See Foxboro Co. v. Arabian Am. Oil. Co., 805 F.2d 34, 36 (1st Cir. 1986); see also

 Braintree Lab'ys, Inc., 622 F.3d at 41 (noting that damages, with prejudgment interest, could

 provide an adequate remedy at law if, after litigation on the merits, the Court were to determine

 that plaintiff was entitled to relief).5 A narrow exception exists “where the potential economic

 loss is so great as to threaten the existence of the movant’s business.” Vaquería Tres Monjitas,

 Inc. v. Irizarry, 587 F.3d 464, 485 (1st Cir. 2009).



        5
           Defendants recognize that this Court recently entered a temporary restraining order in
 response to claims challenging a pause in federal funding, see New York v Trump, --- F. Supp. 3d
 ---, 2025 WL 357368 (D.R.I. Jan. 31, 2025), but respectfully submit that the Court did not have
 before it argument on this point, i.e., that grant terminations must be heard in the Court of
 Federal Claims, which is empowered to grant monetary relief if appropriate.
                                                  32
Case 1:25-cv-00128-JJM-LDA            Document 41 Filed 04/14/25           Page 42 of 48 PageID #:
                                              1105



         Here, none of the alleged injuries Plaintiffs plead can support the entry of the requested

 preliminary injunction preventing MBDA, IMLS, and FMCS from taking any steps to implement

 Executive Order 14,238. As detailed below, the harms pled all are economic, speculative, or

 affect third parties rather than the Plaintiffs seeking relief.

     A. MBDA

         Plaintiffs’ allegations regarding MBDA illustrate why economic harms generally are not

 cognizable as “irreparable harm” for purposes of preliminary equitable relief; money is generally

 fungible, and, unless the very existence of an enterprise is threatened, see Vaquería Tres

 Monjitas, Inc., 587 F.3d at 485, a litigant suffering financial loss may be made whole through

 money damages. Plaintiffs effectively concede the point in arguing alleged irreparable harm to

 the University of Wisconsin Office of Business and Entrepreneurship, asserting that it will

 submit its next payment request by April 15 and “expects to receive a disbursement of grant

 funds by April 30.” ECF No. 3 at 41. Plaintiffs add that “[i]f the University does not receive

 this disbursement ‘as scheduled,’ it will not be able to pay students, independent contractors, or

 staff, and will need to draw funds from its own pocket to meet expenses.” Id. (emphasis added).

 More broadly, Plaintiffs argue that “if MBDA grant payments ‘are not paid when due . . . the

 States and their instrumentalities will either need to forgo services to disadvantaged businesses

 or shell out their own money as a result.” Id. at 42 (emphasis added).

          In Department of Education v. California, the Supreme Court considering an analogous

 suit found it “compelling” that grantees—that had been granted a temporary restraining order

 enjoining the Government from terminating various education-related grants—“[had] the

 financial wherewithal to keep their programs running.” 2015 WL 1008354, *2. Against that

 backdrop, the Supreme Court held it was appropriate to stay the temporary restraining order,


                                                    33
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25             Page 43 of 48 PageID #:
                                             1106



 reasoning that “if [the grantees] ultimately prevail, they can recover any wrongfully withheld

 funds through suit in an appropriate forum.’ Id. Just so in this case.

        Moreover, even if economic injuries were cognizable as irreparable harm: Plaintiffs have

 identified just one grant as to which payment was expected and has not yet occurred: $109,000

 which they allege Maryland’s Morgan State University has been unable to draw down since

 March 29, 2025. ECF No. 3 at 41. While Maryland could have chosen to bring its own action in

 an appropriate forum, i.e. the Court of Federal Claims, to litigate whether payment on that grant

 must be made, there is no authority under which another State can bootstrap onto Maryland’s

 alleged harm an order that all future payments to it must be made by MBDA, regardless of the

 President’s or agency’s judgment, let alone to twelve other Plaintiff states. Yet that is the

 expansive relief that Plaintiff states now demand.

        Finally, it is striking that, apart from the $109,000 to Morgan State University, Plaintiffs

 point to just one example of funds expected from MBDA—those funds, on Plaintiffs’ telling,

 would not be due to be disbursed until April 30, more than three weeks after Plaintiffs’ Motion

 was filed. See ECF No. 3 at 41. Plaintiffs’ Motion offers no reason why emergency injunctive

 relief is necessary now, see id., much less make a showing that they would be irreparably harmed

 in the absence of such an order. For this reason, too, the Court should deny the Plaintiffs’

 Motion.

    B. IMLS

        Plaintiffs’ allegations of harm related to IMLS fare no better. With respect to IMLS,

 Plaintiffs point to several grant awards that are delayed or that have been terminated. See ECF

 No. 3 at 37–39. None of those assertions of harm, however, includes any allegation that the very

 existence of the program or library funded by that grant would be threatened if a preliminary


                                                  34
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25              Page 44 of 48 PageID #:
                                             1107



 injunction were not issued. See id. Indeed, the declaration of Secretary Garcia y Griego of New

 Mexico notes: “[a] protracted pause in federal funding would require the appropriation of other

 funds to ensure ongoing services.” ECF No. 3-24, ¶ 18. This acknowledgement confirms what

 the precedent already recognizes—absent a situation in which the very existence of an entity is

 threatened, economic harms are not “irreparable.” See supra part II(A).

        Furthermore, as with MBDA, to the extent Plaintiffs identify any grant terminations, see

 ECF No. 3 at 39 (identifying three), or disbursements that have been delayed, see id. at 38–39

 (identifying four), the states in such situations could have brought individual actions in the

 appropriate forum to address their concrete interests. The expansive reach of the relief that the

 twenty-one Plaintiff states seek instead—rather than targeting relief to any concrete injuries

 identified in Plaintiffs’ Motion—just underscores the overbreadth of the requested preliminary

 injunction.

    C. FMCS

        Finally, with respect to FMCS, Plaintiffs’ allegations of irreparable harm depend likewise

 on economic injuries, which are not cognizable, and altogether speculative allegations. See ECF

 No. 3 at 44–46. Although Plaintiffs note that forty-two states have collective bargaining

 agreements that expressly call for the use of FMCS, they identify only one matter as to which

 they were actively using FMCS’s services when they became unavailable. See id. at 44. As to

 another eight cases, Plaintiffs note the parties had “hoped” to obtain FMCS’s mediation services.

 Given these limited allegations, there is no basis to credit the speculation that the states will see a

 “huge influx of contract disputes” in the absence of FMCS’s services.

        The other potential harms alleged by the Plaintiff states are either 1) even more

 speculative than the assumption that Plaintiff states will see an overwhelming rise in labor


                                                   35
Case 1:25-cv-00128-JJM-LDA            Document 41 Filed 04/14/25              Page 45 of 48 PageID #:
                                              1108



 disputes; or 2) economic, and therefore not cognizable as irreparable harm at all. As to the latter:

 Plaintiffs assert that, in the absence of FMCS’s services, they had to turn to “more expensive and

 less effective alternatives.” Id. Plaintiffs offer no support for their assertion that the alternatives

 are less effective, and the economic harm of paying more for the service cannot support the entry

 of a preliminary injunction.

         Nor can unsupported speculation about the “increased risk of strikes, labor strife, and

 litigation” be grounds for preliminary relief. Id. at 46. Each of the dire outcomes that Plaintiffs

 identify depends on an attenuated chain of possibilities. And each could likewise be prevented

 with the use of another dispute resolution service. Perhaps most importantly, for purposes of

 assessing the relief that Plaintiffs request, Plaintiffs offer no basis upon which to conclude that

 such dire consequences would obtain during the next couple of weeks. For all these reasons,

 Plaintiffs have failed to establish irreparable harm that could support the entry of a preliminary

 injunction; to the extent they have alleged economic harm, none of the Plaintiffs have met the

 narrow exception made for circumstances in which economic harm threatens an entity’s very

 existence.

  III.   The Balance of the Equities and the Public Interest Support Rejection of the
         Plaintiffs’ Motion.

         A preliminary injunction also is not appropriate because the balance of the equities and

 the public interest tip in Defendants’ favor. See Nken, 556 U.S. at 435 (holding that “[t]hese

 factors merge when the Government is the opposing party”). In this setting, granting the

 preliminary injunction that Plaintiffs seeks would disrupt the agencies’ efforts to comply with

 Executive Order 14,238, and act as responsible stewards of public funds. In another case seeking

 preliminary equitable relief against a federal agency, the Court recognized that “thwarting the

 lawful exercise of authority of a duly appointed official would be inequitable and disserve the

                                                   36
Case 1:25-cv-00128-JJM-LDA              Document 41 Filed 04/14/25             Page 46 of 48 PageID #:
                                                1109



 public interest.” Open Tech. Fund v. Pack, 470 F. Supp. 3d 8, 31 (D.D.C. 2020).

            Contrary to Plaintiffs’ assertions that the public interest will suffer no cognizable harm if

 a preliminary injunction is entered, ECF No. 3 at 47, such an order here would effectively disable

 several federal agencies, as well as the President himself, from implementing the President’s

 priorities consistent with their legal authorities. “Any time a [government] is enjoined by a court

 from effectuating statutes enacted by representatives of its people, it suffers a form of irreparable

 injury.” Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers) (brackets

 omitted); see also See Dist. 4 Lodge of the Int’l Assoc. of Machinists & Aerospace Workers Local

 Lodge 207 v. Ctr. for Biological Diversity, 18 F.4th 38, 47 (1st Cir. 2021).

            Additionally, where the Government is legally entitled to make decisions about the

 disbursement or allocation of federal funds but is nonetheless ordered to release the funding, such

 funds may not be retrievable afterwards. See Department of Education v. California, No.

 24A910, 2015 WL 1008354, *2 (noting “the Government’s representation that it is unlikely to

 recover the grant funds once they are disbursed” as among the reasons supporting a stay of a

 temporary restraining order enjoining the Government from terminating various education-related

 grants).

  IV.       Plaintiffs Should Be Ordered to Post Security in Connection with Any Preliminary
            Injunctive Relief And Any Preliminary Relief Should Be Stayed To Allow
            Consideration of Whether to Appeal

            For the reasons stated above, Defendants submit that the Court can and should deny

 Plaintiffs’ Motion in its entirety. However, should the Court be inclined to order any injunctive

 relief, the Court should also order Plaintiffs to post security. Under Federal Rule of Civil

 Procedure 65(c), the Court may issue a preliminary injunction “only if the movant gives

 security” for “costs and damages sustained” by Defendants if they are later found to “have been

                                                     37
Case 1:25-cv-00128-JJM-LDA           Document 41 Filed 04/14/25             Page 47 of 48 PageID #:
                                             1110



 wrongfully enjoined.” Fed. R. Civ. P. 65(c). In the event the Court issues a preliminary

 injunction here, the Court should require Plaintiffs to post an appropriate bond commensurate

 with the scope of any such order. See DSE, Inc. v. United States, 169 F.3d 21, 33 (D.C. Cir.

 1999) (stating that Rule 65(c) places “broad discretion in the district court to determine the

 appropriate amount of an injunction bond”). As Plaintiffs are, in part, seeking the disbursement

 of grant funds, the Court should order the posting of a bond equal to the size of any payment that

 the Court orders on a preliminary basis here. Without such a protective measure, there may be

 no way to recover the funds lost to United States taxpayers if the Court were later to find that

 Defendants were “wrongfully enjoined.” See Fed. R. Civ. P. 65(c); cf. California, No. 24A910,

 2015 WL 1008354, at *2 (“respondents have not refuted the Government’s representation that it

 is unlikely to recover the grant funds once they are disbursed. No grantee promised to return

 withdrawn funds should its grant termination be reinstated, and the District Court declined to

 impose bond”) (quotation omitted).

        Finally, Defendants respectfully request that if this Court does enter injunctive relief, that

 relief be stayed for a period of seven days to allow the Solicitor General to determine whether to

 appeal and seek a stay pending appeal.

                                          CONCLUSION

        For all the reasons discussed herein, the Court should deny the Plaintiffs’ Motion.


 Dated: April 14, 2025                         Respectfully submitted,

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                                                  38
Case 1:25-cv-00128-JJM-LDA   Document 41 Filed 04/14/25         Page 48 of 48 PageID #:
                                     1111



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                                      39
